                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 PLANNED PARENTHOOD OF                             )
 TENNESSEE AND NORTH                               )
 MISSISSIPPI, et al.,                              )
                                                   )    NO. 3:20-cv-00740
         Plaintiffs,                               )
                                                   )    JUDGE CAMPBELL
 v.                                                )    MAGISTRATE JUDGE NEWBERN
                                                   )
 HERBERT H. SLATERY III, et al.,                   )
                                                   )
         Defendants.                               )

                                               ORDER

        Pending before the Court is the Parties’ Joint Motion to Reopen Case and Lift Stay. (Doc. No.

115). The Motion is filed pursuant to the Court’s January 31, 2022 Order directing the parties to move

to reopen the case and lift the stay within 60 days of the Supreme Court decision in Dobbs v. Jackson

Women’s Health Organization, No. 19-1392 (U.S.). Notwithstanding the motion to reopen the case

and lift the stay, the parties agree that the case became moot on August 25, 2022, when Tennessee’s

ban on abortion went into effect, Tenn. Code Ann. § 39-15-213. The parties state that they intend to

file a joint stipulation of dismissal of this case without prejudice “imminently.”

        In light of the agreed posture of the case and the parties’ intent to file a joint stipulation of

dismissal, the Motion to Reopen Case and Lift Stay (Doc. No. 115) is DENIED and the case will

remain administratively closed. On or before October 14, 2022, the parties shall file a joint stipulation

of dismissal. Absent the aforementioned filing or other filing from a party, the case will be dismissed

without prejudice after that date.

        It is so ORDERED.

                                               ____________________________________
                                               WILLIAM L. CAMPBELL, JR.
                                               UNITED STATES DISTRICT JUDGE


      Case 3:20-cv-00740 Document 118 Filed 09/21/22 Page 1 of 1 PageID #: 3102
